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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

                                              CASE No.:
TAVIA WAGNER,

      Plaintiff,
vs.

HIGHLANDER CORP, and
FUGU RESTAURANT, LLC, d/b/a
FUGU SUSHI RESTAURANT

     Defendants.
__________________________________/

                                  COMPLAINT
      Plaintiff,   TAVIA    WAGNER        (hereinafter   the   “Plaintiff”),   through

undersigned counsel, hereby files this Complaint and sues HIGHLANDER CORP,

a Florida Corporation, and FUGU RESTAURANT, LLC, a Florida Limited Liability

Corporation, d/b/a, FUGU SUSHI RESTAURANT, (hereinafter, collectively the

“Defendants”), for injunctive relief, attorney’s fees and costs (including, but not

limited to, court costs and expert fees), pursuant to 42 U.S.C. §12181, et. seq.,

(“AMERICANS WITH DISABILITIES ACT” or “ADA”) and alleges:

                        JURISDICTION AND PARTIES

      1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181, et. seq., (hereinafter
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referred to as the “ADA”). This Court is vested with jurisdiction under 28 U.S.C.

§1331 and §343.

      2.     Venue is proper in this Court, Middle District pursuant to 28 U.S.C.

§1391(B) in that all events giving rise to this lawsuit occurred in Volusia County,

Florida.

      3.     At the time of Plaintiff’s visit to Defendants’ Subject Facilities, prior to

instituting the instant action, TAVIA WAGNER (hereinafter referred to as

“WAGNER”), was a resident of the State of Florida, suffered from what constitutes

a “qualified disability” under the Americans with Disabilities Act of 1990, and used

a wheelchair for mobility. Plaintiff has Spina Bifida. Since childhood, she has been

required to traverse in a wheelchair, and is substantially limited to performing one

or more major life activities including, but not limited to, walking, standing,

grabbing, grasping, and/or pinching.

      4.     The Plaintiff personally visited, in or about June 20, 2021 Defendants’

Subject Facilities, but was denied full and equal access to, and full and equal

enjoyment of, the facilities services, goods, privileges and accommodations offered

within Defendants’ Subject Facilities, which is the subject of this lawsuit, even

though she would be classified as a “bona fide patron”, because of her disabilities.

Plaintiff lives in Volusia County, Florida, in close proximity to Defendants, (within




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27.7 miles) and travels in the surrounding areas near Defendants’ Subject Facilities

on a regular basis.

       5.      The Defendants, HIGHLANDER CORP, a Florida Corporation, and

FUGU RESTAURANT, LLC, a Florida Limited Liability Corporation, d/b/a, FUGU

SUSHI RESTAURANT are authorized to conduct, and are conducting business

within the State of Florida.

       6.      Upon information and belief, FUGU RESTAURANT, LLC, is the

lessee and/or operator of the real property (the “Subject Facility”), and the owner of

the improvements where the Subject Facility is located which is the subject of this

action, the establishment commonly referred to as FUGU SUSHI RESTAURANT,

located at 26 N. BEACH STREET, SUITE B, ORMOND BEACH, FLORIDA.

       7.      Upon information and belief, HIGHLANDER CORP, is the lessor,

operator and/or owner of the real property (the “Subject Facility”), and the owner of

the improvements where the Subject Facilities are located which are the subjects of

this action.

       8.      All events giving rise to this lawsuit occurred in the State of Florida.

Venue is proper in this Court as the premises are located in Volusia County in the

Middle District, Orlando Division.

               COUNT I – VIOLATIONS OF THE AMERICANS WITH

                                DISABILITIES ACT


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      9.    On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101, et. seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its

requirements. The effective date of the Title III of the ADA was January 26, 1992.

42 U.S.C. §12181; 20 C.F.R. §36.508(a).

      10.   Congress found, among other things, that:

            (i)     some 43,000,000 Americans have one or more physical or
                    mental disabilities, and this number shall increase as the
                    population continues to grow older;

            (ii)    historically, society has tended to isolate and segregate
                    individuals with disabilities, and, despite some improvements,
                    such forms of discrimination against disabled individuals
                    continue to be a pervasive social problem, requiring serious
                    attention;

            (iii)   discrimination against disabled individuals persists in such
                    critical    areas     as     employment,       housing,     public
                    accommodations, transportation, communication, recreation,
                    institutionalization, health services, voting and access to public
                    services and public facilities;

            (iv)    individuals with disabilities continually suffer forms of
                    discrimination, including outright intentional exclusion, the
                    discriminatory effects of architectural, transportation, and
                    communication barriers, failure to make modifications to
                    existing facilities and practices. Exclusionary qualification
                    standards and criteria, segregation, and regulation to lesser
                    services, programs, benefits, or other opportunities; and,

            (v)     the continuing existence of unfair and unnecessary
                    discrimination and prejudice denies people with disabilities the
                    opportunity to compete on an equal basis and to pursue those
                    opportunities for which our country is justifiably famous and
                    costs the United States billions of dollars in unnecessary
                    expenses resulting from dependency and non-productivity.

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      42 U.S.C. §12101(a)(1)-(3), (5) and (9).

      11.    Congress explicitly stated that the purpose of the ADA was to:

             (i)     provide a clear and comprehensive national mandate for the
                     elimination of discrimination against individuals with disabilities;
             (ii)    provide clear, strong, consistent, enforceable standards addressing
                     discrimination against individuals with disabilities; and,

             (iii)   invoke the sweep of congressional authority, including the power to
                     enforce the fourteenth amendment and to regulate commerce, in
                     order to address the major areas of discrimination faced day-to-day
                     by people with disabilities.

      42 U.S.C. §12101(b)(1)(2), and (4).

      12.    Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, Defendants

are places of public accommodation in that they are establishments which provide

goods and services to the public.

      13.    Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building

and/or Subject Facility which is the subject of this action is a public accommodation

covered by the ADA and which must be in compliance therewith.

      14.    The Plaintiff is informed and believes, and therefore alleges, that the

Subject Facility has begun operations and/or undergone remodeling, repairs and/or

alterations since January 26, 1990.

      15.    Defendants have discriminated, and continue to discriminate, against

the Plaintiff, and others who are similarly situated, by denying full and equal access

to, and full and equal enjoyment of, goods, services, facilities, privileges, advantages

and/or accommodations at Defendants’ Subject Facilities in derogation of 42 U.S.C.

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§12101, et. seq., and as prohibited by 42 U.S.C. §12182 et. seq., and by failing to

remove architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such

removal is readily achievable.

      16.    The Plaintiff has been unable to, and continues to be unable to, enjoy

full and equal safe access to, and the benefits of, all accommodations and services

offered at Defendants’ Subject Facilities. Prior to the filing of this lawsuit, the

Plaintiff visited the subject properties and was denied full and safe access to all the

benefits, accommodations and services of the Defendants. Prior to the filing of this

lawsuit, WAGNER personally visited HIGHLANDER CORP, a Florida

Corporation, and FUGU RESTAURANT, LLC, a Florida Limited Liability

Corporation, d/b/a, FUGU SUSHI RESTAURANT with the intention of using

Defendants’ facilities but was denied full and safe access to the facilities, and

therefore suffered an injury in fact. As stated herein, the Plaintiff has visited the

Subject Facilities in the past, prior to the filing of this lawsuit, resides near said

Subject Facility, and Plaintiff intends to return to the Subject Facility and Property

within six months, or sooner, upon the Subject Facility being made accessible. As

such, Plaintiff is likely to be subjected to continuing discrimination at the Subject

Facility unless it is made readily accessible to and usable by individuals with

disabilities to the extent required under the ADA, including the removal of the

architectural barrier which remain at the Subject Facility.


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       17.      Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA, known as the Americans

with Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R.

Part 36, under which said Department may obtain civil penalties of up to $110,000

for the first violation and $150,000 for any subsequent violation.

       18.      The Defendants’ Subject Facilities are in violation of 42 U.S.C. §12182

et. seq., the ADA and 28 C.F.R. §36.302 et. seq., and is discriminating against the

Plaintiff, as a result of interalia, the following specific violations:

       VIOLATIONS

             a) Failure to provide ADA compliant number of accessible parking

                spaces, in violation of 2017 FAC, 2014 FAC and 2010 ADAS Section

                208.2.

             b) Failure to provide ADA compliant parking stall on the shortest

                accessible route to the building, in violation 2017 FAC, 2014 FAC and

                2010 ADAS Section 208.3.1.

             c) Failure to provide ADA compliant accessible parking stall, in violation

                2017 FAC, 2014 FAC and 2010 ADAS Section 208.2.

             d) Failure to provide ADA compliant parking stall striping and markings,

                in violation 2017 FAC, 2014 FAC and 2010 ADAS Section 502.3.3.


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       e) Failure to provide ADA compliant parking stall width clearance, in

          violation 2017 FAC, 2014 FAC Section 502.1.

       f) Failure to provide ADA compliant parking stall slope gradings, in

          violation 2017 FAC, and 2014 FAC Section 502.4.

       g) Failure to provide ADA compliant access aisle (missing), in violation

          2017 FAC, 2014 FAC and 2010 ADAS Section 502.2.

       h) Failure to provide ADA compliant access aisle striping and markings,

          in violation 2017 FAC, 2014 FAC and 2010 ADAS Section 502.3.3.

       i) Failure to provide ADA compliant access aisle width clearance, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 502.3.1.

       j) Failure to provide ADA compliant access aisle slope grading, in

          violation 2017 FAC, and 2014 FAC Section 502.4.

       k) Failure to provide ADA compliant parking stall signage, in violation

          2017 FAC, and 2014 FAC Section 502.6.

       l) Failure to provide ADA compliant access aisle built up curb ramp, in

          violation 2017 FAC, and 2014 FAC Section 502.4.

       m) Failure to provide ADA compliant transaction counter height, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 904.4.1 and

          904.4.2.




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       n) Failure to provide ADA compliant transaction counter clear floor space,

          in violation 2017 FAC, 2014 FAC and 2010 ADAS Section 904.4.1.

       o) Failure to provide ADA compliant number of exterior table seating, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 227.3.

       p) Failure to provide ADA compliant exterior table clearances, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 306.1.

       q) Failure to provide ADA compliant number of interior table seating, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 227.3.

       r) Failure to provide ADA compliant interior table clearances, in violation

          2017 FAC, 2014 FAC and 2010 ADAS Section 306.1.

       s) Failure to provide ADA compliant directional signage to accessible

          restroom, in violation 2017 FAC, 2014 FAC and 2010 ADAS Section

          216.8.

       t) Failure to provide ADA compliant lavatory unobstructed, clear floor

          space, in violation 2017 FAC, 2014 FAC and 2010 ADAS Section

          606.2.

       u) Failure to provide ADA compliant, unobstructed, lavatory/toilet clear

          floor space, in violation 2017 FAC, 2014 FAC and 2010 ADAS Section

          604.3.2.




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            v) Failure to provide ADA compliant mirror, in violation 2017 FAC, 2014

               FAC and 2010 ADAS Section 603.3.

            w) Failure to provide ADA compliant toilet paper location, in violation

               2017 FAC, 2014 FAC and 2010 ADAS Section 604.7.

            x) Failure to provide ADA compliant hook reach range, in violation 2017

               FAC, 2014 FAC and 2010 ADAS Section 308.2.1.

      19.      Upon information and belief, there are other current violations of the

ADA at Defendants’ Properties, and only once a full inspection is done can all said

violations be identified.

      20.      To date, the readily achievable barriers and other violations of the ADA

still exist and have not been remedied or altered in such a way as to effectuate

compliance with the provisions of the ADA. The barriers to access at the Subject

Facilities, as described above, have severely diminished Plaintiff’s ability to avail

herself of the goods and services offered at the Subject Facilities, and compromise

her safety.

      21.      Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304,

the Defendants were required to make the Subject Facility, a place of public

accommodation, accessible to persons with disabilities since January 28, 1992. To

date, the Defendants have failed to comply with this mandate.




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       22.    The Plaintiff has been obligated to retain the undersigned counsel for

the filing and prosecution of this action. The Plaintiff is entitled to have her

reasonable attorney’s fees, costs and expenses paid by the Defendants, pursuant to

42 U.S.C. §12205.

       23.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to

grant the Plaintiff’s injunctive relief; including an order to alter the subject facilities

to make them readily accessible to, and useable by, individuals with disabilities to

the extent required by the ADA and closing the subject facility until the requisite

modifications are completed.

       WHEREFORE, the Plaintiff hereby demands judgment against the

Defendants and the Court declare that the subject property and Subject Facilities

owned, operated, leased, controlled and/or administered by the Defendants are

violative of the ADA;

       A.     The Court enter an Order requiring the Defendants to alter their

              facilities and amenities to make them accessible to and usable by

              individuals with disabilities to the full extent required by Title III of the

              ADA;

       B.     The Court enter an Order directing the Defendants to evaluate and

              neutralize their policies, practices and procedures toward persons with




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            disabilities, for such reasonable time so as to allow the Defendants to

            undertake and complete corrective procedures to the Subject Facility;

      C.    The Court award reasonable attorney’s fees, all costs (including, but not

            limited to court costs and expert fees) and other expenses of suit, to the

            Plaintiff; and

      D.    The Court award such other and further relief as it deems necessary,

            just and proper.

      Dated: This 30th day of June 2021.



                                             Respectfully submitted,

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